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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF TEXAS
                             WACO DIVISION



CTD NETWORKS LLC,

     Plaintiff,

v.                                      No. 6:22-cv-01049-XR

MICROSOFT CORPORATION,

     Defendant.



                  MICROSOFT CORPORATION’S MOTION FOR
                      SANCTIONS AGAINST RAMEY LLP
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                                       INTRODUCTION

        In a co-pending motion, Microsoft explains why this case is exceptional, and why Plaintiff

CTD Networks LLC (“CTD”) should pay Microsoft its reasonable attorneys’ fees incurred in

moving to dismiss CTD’s First Amended Complaint. Through this separate motion, Microsoft

respectfully requests that the Court further order that CTD’s counsel, Ramey LLP, be held jointly

and severally liable under 28 U.S.C. § 1927 and Federal Rule of Civil Procedure 11(b) for any fees

awarded. While such sanctions should be used sparingly, they are necessary here given the specific

facts of this case.

        Put simply, Ramey LLP has built a business around filing frivolous patent lawsuits such as

this one and then collecting nuisance-value settlements—settlements far less than the cost of

reaching the merits. While Ramey LLP has only seven lawyers, it filed 222 patent cases in the last

10 months, with 162 of those cases directed at this judicial district. Of those 222 cases, 114 have

already resolved, with an average case length of just 3.5 months. Cases do not resolve that quickly

if the plaintiff is seeking more than a nuisance-value settlement. This case is typical—Mr. Ramey

and CTD sought low-dollar-value settlements, which many defendants took. Mr. Ramey has also

sued Microsoft nine times in the past two years. Microsoft takes this request for sanctions very

seriously and files this motion only because it has become necessary to deter Ramey LLP from

repeatedly filing baseless, nuisance-value suits against Microsoft and others.

        Because Ramey LLP seeks quick, nuisance-value settlements for its clients, it need not

worry about the merits. This has led district courts around the country to issue sanctions against

Ramey LLP and its clients on multiple occasions. For example, a district court in California

awarded sanctions against a Ramey LLP client and said Mr. Ramey was “lucky” that the defendant

in that case did not ask the Court to impose sanctions on Mr. Ramey himself. A district court in


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Delaware wrote that it has had “numerous concerns” about the cases Mr. Ramey handled. And at

least six published decisions awarded fees against Ramey clients for pursuing claims that were

objectively baseless. Again, this case is typical—for each case where this Court reached the merits,

it issued an order of dismissal and is now considering fee awards.

        Furthermore, because Mr. Ramey represents shell companies with little or no assets, he

and his clients do not need to worry about such fee awards. During a hearing involving sanctions

for other Ramey LLP clients, Mr. Ramey said that any money his clients receive (for example,

through settlements) are paid out to litigation funders (the entities who provided funds to pursue

to pursue the lawsuit) and to Ramey LLP, leaving nothing for the client itself. This means that

even though CTD obtained some settlement money from other defendants, those funds are likely

long gone. CTD’s only assets are the asserted patents—which are effectively worthless because

no company uses that technology and they expire in a month—along with other expired patents

covering that same technology.

        In sum, Mr. Ramey and CTD had no concern about maintaining this case because they

knew there were no consequences in doing so. Even if Microsoft obtained fees, CTD could simply

refuse to pay, or declare bankruptcy. Under such circumstances, applying the fee award against

Ramey LLP is the only way to accomplish the deterrent effect that a fee award under 35 U.S.C.

§ 285 is supposed to provide, and both 28 U.S.C. § 1927 and Rule 11(b) provide legal support for

such an award.

                                    STATEMENT OF FACTS

   I.      CTD Files a Deficient Complaint

        A full recitation of the facts surrounding Microsoft’s motions to dismiss can be found in

Microsoft’s co-pending Motion for Attorneys’ Fees. In brief, CTD appears to be a legal entity

created solely to assert patents; it filed a certificate of formation with the Secretary of the State of
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Delaware on July 25, 2022, and then filed this patent infringement lawsuit a little over two months

later, on October 6, 2022. Huang Decl.,1 Ex. A; Dkt. 1 (“Original Complaint”).

       CTD’s Original Complaint contained a number of flawed legal theories, which Microsoft

moved to dismiss under Federal Rule of Civil Procedure 12(b)(6). Dkt. 13 (“First MTD”). During

an April 10th hearing (“First MTD Hearing”), this Court explained that both CTD’s Original

Complaint and its proposed amendment were deficient at least because they failed to identify any

single Microsoft product that allegedly practices all the limitations of an asserted claim. Huang

Decl., Ex. C (“First Hearing Tr.”), at 43:21-44:9. The Court directed CTD to “pick one product

for your amended complaint and see if you can get around the deficiencies.” Id. The Court also

cautioned CTD that, “[t]o the extent that the amended complaint fails to cure the deficiencies

identified in Defendant’s motion to dismiss 13, the Court will entertain a motion for the reasonable

expenses Defendant incurs in responding to the pleading, including reasonable attorneys’ fees.”

Text Order Granting in Part and Denying in Part Docket 31 (Apr. 10, 2023).

       On April 21, 2023, CTD filed a First Amended Complaint. Dkt. 39 (the “FAC”). The

FAC, however, failed to fix the deficiencies Microsoft and the Court identified in the Original

Complaint. Specifically, CTD maintained its “mix and match” theory of infringement, accusing

at least ten different Microsoft software products of infringing but failing to allege that any single

product alone or any set of programs when used in combination practiced all elements of any

asserted patent claim. See Dkt. 40 (“Second MTD”) at 6-13. While CTD added an allegation that

three Microsoft products were sold together as an “integrated suite,” CTD never explained how

those products allegedly operated in combination to perform all the elements of any patent claim.



1
  “Huang Decl.” refers to the Declaration of Henry Huang, filed in support of Microsoft’s Motion
for Attorneys’ Fees.
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See id. at 11-13. CTD also still failed to address limitations of the ’442 and ’470 patents. Id. at

13-14. CTD also still failed to allege that Microsoft performed infringing acts under Centillion.

Id. at 14-18. Finally, CTD added a single paragraph raising a claim of indirect infringement of the

’442 Patent that lacked any recitation of relevant facts. Id. at 18-20.

       On April 25, 2023, Microsoft sent CTD a letter pointing out the deficiencies in the FAC.

Microsoft asked CTD to dismiss the FAC, and said that if it did so by May 2, 2023, Microsoft

would not seek its costs or attorneys’ fees in bringing a second motion to dismiss. Huang Decl.,

Ex. B (“April Letter”) at 3.      Other than acknowledging receipt, CTD never responded to

Microsoft’s letter.

       On May 22, 2023, Microsoft filed the Second MTD, raising all of the above deficiencies.

CTD’s opposition largely repeated arguments that the Court had already rejected. See Dkt. 41.

CTD dedicated only a single sentence of its opposition to its new theory that Microsoft’s products

were “integrated,” but it never explained how those products operated together to practice any

asserted claim. Id. at 5. CTD also failed to address indirect infringement, instead discussing

willful infringement. Id. at 7-8. CTD even referenced a patent that is not at issue in this case, and

that does not appear to be owned by CTD. Id. at 1 (discussing U.S. Patent No. 9,402,158). CTD

also requested leave to amend, though it never said what it would change in a new amended

complaint. Id. at 8.

       On June 29, 2023, at the hearing on the Second MTD, the Court found that the FAC had

the same deficiencies as the Original Complaint, and the Court stated that it was “leaning to

granting all the motions to dismiss.” Huang Decl., Ex. D (“Second Hearing Tr.”) at 16:3-12. The

Court reiterated that it would consider cost shifting related to “re-briefing of all these secondary

motions to dismiss,” and advised CTD to explore other options for resolving the case. Id. at 16:13-


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21 (“I caution you that if I do end up granting this motion to dismiss there could be cost shifting .

. . . [Y]ou may want to consider your other options here in the interim.”). CTD did not dismiss the

case, and on August 22, 2023, the Court granted Microsoft’s Second MTD, dismissing the case

with prejudice. See Dkt. 44, 45. The dismissal order expressly granted leave to seek reasonable

attorneys’ fees. Dkt. 44 at 19-20.

      II.      Plaintiff’s Law Firm: Ramey LLP

            Ramey LLP is a Texas law firm that lists as partners William P. Ramey III, Jeffrey E.

Kubiak, and Daniel Krueger, along with four other attorneys who are listed as Counsel. Huang

Decl., Ex. H. Despite having only seven total attorneys, Ramey LLP is one of the most prolific

patent plaintiffs’ firms in the United States, having appeared as counsel in 222 patent cases filed

during the 10 months between the commencement and dismissal of this lawsuit. Huang Decl., Ex.

F. Of those, 162 cases were filed in this judicial district. Id. Mr. Ramey has sued Microsoft nine

times in the past two years. Id., ¶ 10.

            Ramey LLP represents non-practicing entities seeking nuisance-value settlements—

settlements for values far less than the cost of reaching the merits. For example, of the 222 cases

Ramey LLP filed in the past 10 months, 114 of those cases have already terminated, with an

average case length of about three-and-half months. Id., ¶ 9. In this case, Mr. Ramey asked

Microsoft to pay a lump-sum settlement far less than the cost of defending a patent infringement

lawsuit. See April Letter. Four other CTD cases (against AT&T, Inc., IBM Corp., Akamai

Technologies, Inc., and Palo Alto Networks, Inc.) all settled quickly, prior to any meaningful

litigation activity.2 This suggests CTD sought and obtained nuisance-value settlements from these

defendants as well.



2
    The AT&T case was dismissed by CTD prior to any filing responsive to the Complaint, following
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       Moreover, Mr. Ramey’s demonstrated practice is to represent shell entities that have little

or no assets other than the asserted patents. For example, during a hearing involving another

Ramey LLP client, Mr. Ramey explained that any money received by his client is paid to litigation

funders (the entities who provide funds to pursue the lawsuit), as well as to Ramey LLP, with

nothing left for the client itself. See Missed Call, LLC v. Freshworks, Inc., 1:22-cv-00739 (D. Del.

June 6, 2022), Dkt. 34 at 17:16-18:5; see also Traxcell Techs, LLC v. AT&T Corp. & AT&T

Mobility LLC, 2:17-cv-00718-RWS-RSP (E.D. Tex. Jan. 19, 2023), Dkt. 548 at 3, 9 (Ramey LLP

representing that its client Traxcell would be rendered insolvent by posting a bond for a fee award

pending appeal). This means the entities Mr. Ramey represents are effectively judgment-proof.

In other words, any money they receive (for example, by way of settlements) is paid to third parties

such as litigation funders and Ramey LLP, leaving nothing to satisfy any subsequent fee awards

or sanctions awarded against such entities.3

       Mr. Ramey and his clients have been the subject of multiple sanctions decisions issued by

district courts around the country. See, e.g., Escapex IP LLC v. Google LLC, No. 22-cv-08711-

VC, 2023 U.S. Dist. LEXIS 143626 (N.D. Cal. Aug. 16, 2023) (awarding sanctions against Ramey

client EscapeX and stating “[t]he attorneys for EscapeX are lucky that Google did not separately

ask the Court to impose sanctions on them”); Traxcell Techs., LLC v. AT&T Corp., No. 2:17-cv-



a stay for settlement purposes. See Dkts. 12 and 13 in 6:22-cv-01038. The IBM case was
dismissed via stipulation shortly after the filing of an Answer. See Dkts. 26 and 27 in 6:22-cv-
01044. The Akamai case was dismissed by CTD following a Notice of Settlement less than six
weeks after the filing of a motion to dismiss. See Dkts. 18, 24, and 25 in 6:22-cv-01302. The Palo
Alto Networks case was dismissed by CTD prior to any filing responsive to the Complaint,
following a stay for settlement purposes. See Dkts. 10 and 11 in 6:22-cv-01304.
3
  Mr. Ramey himself will sometimes act as both funder and law firm, providing “non-recourse
funding” for his clients. See Missed Call, Dkt. 34 at 18:14-19:22. CTD’s Certificate of Interested
Parties identified Ramey LLP as an entity “financially interested in the outcome of the case.” Dkt.
4.
                                                 6
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00718-RWS-RSP, 2022 U.S. Dist. LEXIS 56997, at *16 (E.D. Tex. Mar. 29, 2022) (awarding fees

against Ramey client for “pursuit of objectively baseless infringement theories”); ZT IP, LLC v.

VMware, Inc., No. 3:22-CV-0970-X, 2023 U.S. Dist. LEXIS 19165, at *7 (N.D. Tex. Feb. 6, 2023)

(finding Ramey client “had ample opportunities to recognize the frivolousness of its position”);

WPEM, Inc. v. SOTI Inc., No. 2:18-CV-00156-JRG, 2020 U.S. Dist. LEXIS 17449 (E.D. Tex. Feb.

4, 2020), aff’d, WPEM, LLC v. SOTI Inc., 837 F. App’x 773 (Fed. Cir. 2020) (awarding fees against

Ramey client based on the “frivolous nature of WPEM’s infringement position . . . an issue that

could have easily been foreseen with an adequate pre-suit investigation”); NetSoc, LLC v. Chegg

Inc., No. 18-CV-10262 (RA), 2020 U.S. Dist. LEXIS 232321, at *18 (S.D.N.Y. Dec. 10, 2020)

(awarding fees against Ramey client based on “a considerable flaw in their filings”); Emed Techs.

Corp. v. Repro-Med Sys., Inc., 2019 U.S. Dist. LEXIS 196994, at *13 (S.D.N.Y. Nov. 12, 2019)

(awarding fees against Ramey client for an infringement case that was “objectively

unreasonable”); NimitzTechs. LLC v. Cnet Media, Inc., No. 21-1247-CFC, 2022 U.S. Dist. LEXIS

215395, at *20 (D. Del. Nov. 30, 2022) (“I had numerous concerns with respect to the cases being

handled by Messrs. Chong and Ramey.”).

                                            ARGUMENT

        Microsoft’s concurrent fee motion explains why this case is exceptional, and why

Microsoft’s attorneys’ fees are reasonable. In addition to the relief sought in that motion, by this

separate motion, Microsoft respectfully requests that the Court hold plaintiff’s counsel, Ramey

LLP, jointly and severally liable under § 1927 and Rule 11(b) for any fee award.                See

Phonometrics, Inc. v. Westin Hotel Co., 350 F.3d 1242, 1247-48 (Fed. Cir. 2003) (affirming joint

and several liability against plaintiff and plaintiff’s counsel).




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   I.      Legal Standards

        “Under 28 U.S.C. § 1927, an ‘attorney . . . who so multiplies the proceedings in any case

unreasonably and vexatiously may be required by the court to satisfy personally the excess costs,

expenses, and attorneys’ fees reasonably incurred because of such conduct.’” Greer v. Richardson

Indep. Sch. Dist., 471 Fed. Appx. 336, 339 (5th Cir. 2012). Regional circuit law governs fee

shifting under § 1927. See e.g., MEMC Elec. Materials, Inc. v. Mitsubishi Materials Silicon Corp.,

420 F.3d 1369, 1382 (Fed. Cir. 2005). Conduct is “unreasonable and vexatious” if there is

evidence of the “persistent prosecution of a meritless claim” and of a “reckless disregard of the

duty owed to the court.” Morrison v. Walker, 939 F.3d 633, 637–38 (5th Cir. 2019) (citations

omitted); Greer, 471 Fed. Appx. at 339 (attorney’s conduct is considered unreasonable and

vexatious where there is evidence of bad faith, improper motive, or reckless disregard of the duty

owed to the court) (citing Edwards v. Gen. Motors Corp., 153 F.3d 242, 246 (5th Cir. 1998)).

        District courts have discretion to award fees against attorneys if they announce the

sanctionable conduct giving rise to its order and make specific findings to permit effective

appellate review of the validity and amount of fees. Id. (stating § 1927 rulings are reviewed for

abuse of discretion); see also FDIC v. Calhoun, 34 F.3d 1291, 1300 (5th Cir. 1994) (“[C]ourt must

make a separate determination on both the issue of the reasonableness of the claims and the purpose

of the purpose for which suit was instituted.”).

        Awards under § 1927 are punitive in nature. Browning v. Kramer, 931 F.2d 340, 344 (5th

Cir. 1991). Even though the statute should be construed so that it does not “dampen the legitimate

zeal of an attorney in representing his client,” Greer, 471 Fed. Appx. at 339 (citing Travelers Ins.

Co. v. St. Jude Hosp., 38 F.3d 1414, 1416 (5th Cir. 1994)), it is warranted when counsel conducts




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litigation in an “irresponsible manner” leading to “multiple needless proceedings,” id. at 340

(citations omitted).

         Regarding Rule 11, the Supreme Court has stated that its “central purpose [] is to deter

baseless filings . . . . Rule 11 imposes a duty on attorneys to certify that they have conducted a

reasonable inquiry and have determined that any papers filed with the court are well grounded in

fact [and] legally tenable . . . .” Cooter & Gell v. Hartmarx Corp., 496 U.S. 384, 393 (1990). This

rule requires litigants to stop and think before making any legal or factual contention. Raylon LLC

v. Complus Data Innovations, 700 F.3d 1361, 1366-67 (Fed. Cir. 2012); see also Jenkins v.

Methodist Hosps. of Dallas, Inc., 478 F.3d 255, 265 (5th Cir. 2007). In the Fifth Circuit, the rule

follows an objective standard. Raylon, 700 F.3d at 1366-67 (citing FDIC v. Maxxam, 523 F.3d

566, 580 (5th Cir. 2012)). The rule can also be imposed on pleadings brought for an improper

purpose such as causing unnecessary delay or needless increase in the cost of litigation, even if

they have some merit. Maxxam, 523 F.3d at 577.

   II.      CTD’s Counsel Filed an Amended Complaint It Knew was Meritless

         An attorney that willfully continues a lawsuit that they know to be meritless acts in bad

faith under 28 U.S.C. § 1927. Edwards, 153 F.3d at 247. Likewise, sustaining litigation where no

reasonable litigant could expect success is sanctionable under Rule 11. Raylon, 700 F.3d at 1371.

Here, following the First MTD Hearing, CTD’s counsel knew or should have known that CTD

could not support its claim for patent infringement.

         During the First MTD Hearing, this Court clearly instructed CTD and its lawyers to “pick

one product for your amended complaint and see if you can get around the deficiencies.” Huang

Decl., Ex. C at 43:21-44:9 (emphasis added). CTD and its counsel did not pick “one product,”

they picked ten. See Dkt. 39-1. While CTD and its counsel added an allegation that three


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Microsoft products were sold together as an “integrated suite” (namely Microsoft Sentinel,

Microsoft 365 Defender, and Microsoft Defender for Cloud), this supposedly “integrated suite”

only covered three of the ten products CTD accused of infringing, and even those three products

did not cover all the claim limitations—CTD still needed other, unrelated products to fill out its

infringement claim chart. See id.

       CTD and its counsel also made no effort to support direct infringement theories against

Microsoft. Specifically, while CTD asserted only direct infringement for three of the four asserted

patents, it never identified any purported act of direct infringement that Microsoft itself performed

(such as making, using, selling, or importing the infringing system). See FAC ¶¶ 20, 29, 36, 43.

CTD and its counsel also made no effort to support an indirect infringement theory; the FAC never

identified any actual act of indirect infringement. See id. ¶ 24. Indeed, during the briefing on

Microsoft’s Second MTD, CTD never even addressed indirect infringement. Instead, CTD

addressed willful infringement—a different legal doctrine. Second MTD at 7-8. CTD and its

counsel also ignored the Court’s clear guidance not to include willful infringement in the FAC,

and to avoid broad accusations using language such as “by way of example and without limitation.”

Dkt. 44 (“Dismissal Order”) at 5-6.

       CTD and its counsel knew of all these deficiencies when filing the FAC, since they were

all raised in the First MTD and discussed in the First MTD Hearing. But if there were any doubt

about knowledge, Microsoft sent CTD’s counsel a letter pointing out the deficiencies in the FAC

shortly after it was filed. Microsoft asked CTD’s counsel to dismiss the FAC, and said that if it

did so by May 2, 2023, Microsoft would not seek its costs or attorneys’ fees in bringing a second

motion to dismiss. April Letter at 3. CTD and its attorneys never responded to Microsoft’s letter.

Accordingly, CTD and its counsel knew, and certainly should have known, that the FAC had no


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hope of succeeding on the merits. Much like the plaintiff’s counsel in Edwards, CTD’s counsel

“knew that [it] had no case as a matter of fact,” but “kept [the suit] alive, hoping to extort a

nuisance-value settlement.” 153 F.3d at 246-47.

         III.      CTD’s Counsel Displayed a Reckless Disregard of The Duty to Investigate

                An attorney acts with “reckless disregard” of his duty to investigate when that attorney

advances a baseless claim despite clear evidence undermining their factual contentions. Morrison,

939 F.3d at 638. Here, that failure to investigate is reflected in CTD’s failure to plead even the

most basic facts required for patent infringement, and in a clear lack of understanding of

Microsoft’s software products.

                Both the Original Complaint and the FAC rely on mixing and matching distinct Microsoft

software products to assert infringement. For example, focusing on the asserted ’470 patent, the

Original Complaint relied on portions of 10 different Microsoft software applications, without

alleging that any single application met every limitation of the asserted claim:

                                                               MDC                   Defender
    Claim          MDE      MDI     ADP    Sentinel   MDC           DVM        AA                 ISG
                                                               Apps                     SS
    1a               x                                   x
    1b               x        x
    1c               x        x       x        x         x
    1d                        x       x        x         x
    1e                        x       x        x
    1f               x        x
    1g                                                          x4       x
    1h                                                          x        x      x
    1i                                                          x                         x
    1j               x                                                                    x        x




4
  For ’470 patent limitations 1g, 1h, and 1i, CTD’s claim charts refer to Defender for Cloud, but
the cited screenshots discuss Defender for Cloud Apps, which is a different product.
                                                       11
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(Dkt. 1-1, Ex. G).5 In the FAC, even though the Court told CTD to focus on a single accused

product, CTD merely changed its list of 10 accused products:

                                                                      MD
              MD                                           MDC                 MD MD
    Claim            MDE      MDI     Sentinel    MDC                Anti-                   ISG
              365                                          Apps                VM SS
                                                                     virus
    1a         x       x                  x           x
    1b         x       x        x
    1c                 x        x         x           x
    1d                          x         x           x
    1e                          x         x
    1f                 x
    1g                                                       x6                  x
    1h                                                       x                   x
    1i                                                       x
    1j                                                                  x              x      x

(Dkt. 39-1, Ex. G).7 Again, no single product was alleged to meet every limitation.

         CTD brought these deficient infringement allegations in spite of clear descriptions of the

accused products in public documents available on Microsoft’s website.           In fact, both of

Microsoft’s motions to dismiss relied on CTD’s own cited evidence to show that CTD was mixing

and matching multiple unrelated products to make its infringement allegations. See First MTD at

11; Second MTD at 12. Had CTD’s counsel performed even a minimum amount of pre-suit

investigation and diligence, and had counsel listened to the guidance it received from this Court


5
 MDE = Microsoft Defender for Endpoint; MDI = Microsoft Defender for Identity; ADP = Azure
DDOS Protection; MDC = Microsoft Defender for Cloud; DVM = Defender Vulnerability
Management; AA = Azure Attestation; Defender SS = Defender Smart Screen; ISG = Intelligent
Security Graph.
6
  For ’470 patent limitations 1g, 1h, and 1i, CTD’s claim charts refer to Defender for Cloud, but
the cited screenshots discuss Defender for Cloud Apps, which is a different product.
7
  MD365 = Microsoft 365 Defender; MDE = Microsoft Defender for Endpoint; MDI = Microsoft
Defender for Identity; MDC = Microsoft Defender for Cloud; MDC Apps = Microsoft Defender
for Cloud Apps; MD Antivirus = Microsoft Defender Antivirus; Azure DDOS = Azure DDoS
Protection; MDVM = Microsoft Defender Vulnerability Management; MDSS = Microsoft
Defender SmartScreen; ISG = Intelligent Security Graph.
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during the First MTD Hearing, and from Microsoft in its Rule 11 letter, counsel would have seen

that it was not presenting a coherent infringement theory.

    IV.      CTD is Likely Judgment-Proof

          Sanctions against an attorney are important in situations where the plaintiff is likely

judgment-proof and proceeds to file baseless pleadings with no fear of sanctions. For example, in

Raylon LLC v. Complus Data Innovations Co., 6:09-cv-00355, 2015 WL 11121530 (E.D. Tex.

May 4, 2015), the plaintiff sued multiple defendants over patent infringement, relying on a

particular construction of the patent claims that was objectively unreasonable. Id. at *1. The

defendants sought sanctions under 35 U.S.C. § 285, 28 U.S.C. § 1927, and Rule 11(b). On a

remand from the Federal Circuit, reversing an initial denial of sanctions, the district court was left

with assessing sanctions under Rule 11 and 35 U.S.C. § 285.8 Id. at *2. However, by then,

“Defendants abandoned their § 285 claims against Raylon because Raylon was insolvent.” Id.

          Raylon conducted a patent assertion campaign that netted its counsel a profit of around

$300,921.25, obtained from settlements. Id. at *6. The lawsuits that originated those settlements

“were based on the same frivolous infringement theories.” Id. at *7. The district court reasoned

that, “at minimum, Raylon’s counsel should not be permitted to profit from their pursuit of

frivolous claims. Any sanction that would allow Raylon’s counsel to walk away in a better

financial position than when they started risks encouraging others to file baseless lawsuits.” Id.

The sanctions awarded by that court was a disgorgement of profits plus a 50% penalty, totaling

about $450,000. Id.




8
  The Federal Circuit did not review the denial of sanctions under § 1927 noting that it “implicates
a higher level of culpability than Rule 11.” Id. at *2 n.3.
                                                 13
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       While Microsoft seeks attorneys’ fees instead of disgorgement, the same facts supporting

the fee award in Raylon are present here. Ramey LLP initiated a patent assertion campaign against

multiple parties with the purpose of extracting nuisance value settlement amounts. Moreover,

following the First Hearing, CTD and its counsel knew CTD’s legal theories were objectively

unreasonable, but decided to pursue those claims anyway. Based on Mr. Ramey’s representations

in other cases, it is reasonable to conclude that CTD has no assets other than the patents themselves,

which are effectively worthless since no company uses that technology and since they are either

expired or expire in a month. That is likely why Mr. Ramey and his client had no concerns about

refusing to dismiss the case despite the Court’s warning—because there were no consequences in

pursuing it. In this particular case, applying the fee award to Ramey LLP is the only way to

accomplish the deterrent function that a fee award under § 285 is meant to provide.

                                          CONCLUSION

       For these reasons, Microsoft respectfully requests this Court hold plaintiff’s counsel,

Ramey LLP, jointly and severally liable for the fees incurred in preparing and presenting the

Second MTD and the fee motion filed concurrently.



 Dated: September 19, 2023                          Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       The undersigned certifies that on September 19, 2023, the foregoing was filed with the

Clerk of Court via the Court’s CM/ECF system, which will send notification of such filing to all

counsel of record, all of whom have consented to electronic service in this action.

                                                     /s/ Henry Huang
                                                     Henry Huang
